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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                             January 13, 2017
                        UNITED STATES DISTRICT COURT
                                                                            David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                            GALVESTON DIVISION

CAROLINA MAYEUX,              §
                              §
       Plaintiff,             §
VS.                           §                CIVIL ACTION NO. 3:15-CV-52
                              §
STATE FARM INSURANCE COMPANY, §
et al,                        §
                              §
       Defendants.            §

                                       ORDER

       Pending before the Court is pro se Plaintiff’s Motion to Voluntarily Dismiss

Claims with Prejudice. Dkt. 71. The Court is of the opinion that Plaintiff’s Motion has

merit. The motion to dismiss is therefore GRANTED.

       It is therefore ORDERED that all claims brought by Plaintiff against Defendants

are hereby DISMISSED with prejudice.

       All pending motions are hereby DENIED, as moot.

       This is a Final Judgment.

       SIGNED at Galveston, Texas, this 13th day of January, 2017.


                                           ___________________________________
                                           George C. Hanks Jr.
                                           United States District Judge




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